                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

IN RE:      APPOINTMENT OF ADDITIONAL           General Order No. 21-14
            PANEL ATTORNEYS
______________________________________________________________________________

      The Standing Committee on Indigent Defense for the Eastern District of

Wisconsin has recommended that the court add Attorneys Michael Levine,

John Binder and Travis Crowell to the district’s Criminal Justice panel. The

court has considered the recommendation and approves the inclusion of

Attorneys Levine, Binder and Crowell to the panel, each for a three-year term.

      The Committee also has recommended that the court reappoint

Attorneys Calvin Malone and Ed Borda, whose terms recently have expired. The

court has considered the recommendation and reappoints Attorneys Calvin

Malone and Ed Borda, each for three-year terms, nunc pro tunc to commence

August 1, 2021.

      Dated in Milwaukee, Wisconsin this 3rd day of December, 2021.

                                    BY THE COURT:


                                    ___________________________________
                                    HON. PAMELA PEPPER
                                    Chief United States District Judge




          Case 2:00-so-01000 Filed 12/03/21 Page 1 of 1 Document 83
